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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                 2/13/18

 JOINT STOCK COMPANY CHANNEL ONE
 RUSSIA WORLDWIDE, et al.,

               Plaintiffs,                            16-CV-1318 (GBD) (BCM)

        -against-                                     DISCOVERY ORDER
 INFOMIR LLC, et al.,

               Defendants.


BARBARA MOSES, United States Magistrate Judge.

       For the reasons stated on the record at the February 9, 2018 discovery conference, it is
hereby ORDERED that:

       1. Defendant S.K. Management of New York Inc. (S.K. Management), originally sued as
          Goodzone TV, will produce, no later than February 14, 2018, all documents
          responsive to the portions of plaintiffs’ first request for the production of documents as
          to which S.K. Management did not object. (See Dkt. No. 511-4.)

       2. S.K. Management will produce its privilege log no later than February 21, 2018.

       3. Defendant Infomir LLC (Infomir) will supplement its responses to plaintiffs’ first
          request for the production of documents (see Dkt. No. 511-3) and produce additional
          documents, as directed on the record at the February 9 discovery conference and as
          summarized below, no later than February 23, 2018.

          a. Request Nos. 6, 9: Infomir will produce responsive documents.

          b. Request Nos. 7, 10: Infomir will supplement its responses and produce responsive
             documents.

          c. Request No. 16: Infomir will produce documents showing payments made by
             Infomir to defendant Infomir GmBH (GmBH), Pavil Marakhovskiyi or Dmitri
             Adamovski, and payments received by Infomir from GmBH, Marakhovskiyi or
             Adamovski, in each case since January 1, 2014.

       4. Infomir will produce its privilege log no later than March 2, 2018.

       5. Plaintiffs will produce to counsel for S.K. Management and Infomir, no later than
          February 23, 2018, the username(s) and password(s) used by their investigator(s) to
          research websites and/or products allegedly associated with either defendant and
          described in any affidavit or other document filed by plaintiffs in this action. Counsel

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    will share that information only with those of defendants’ employees or agents who are
    directly involved in tracing and/or verifying plaintiffs’ investigative activities and who
    need the information for that purpose. Defendants will otherwise keep confidential the
    username(s) and password(s) provided, will not further disclose such information, and
    will not use it, directly or indirectly, to block plaintiffs’ lawful access to their websites
    or interfere in any other way with plaintiffs’ lawful use of the internet.

 6. Plaintiffs will supplement their responses to S.K. Management’s first set of
    interrogatories and first request for the production of documents (see Dkt. No. 517-2)
    and will produce additional documents, as directed on the record at the February 9
    discovery conference and as summarized below, no later than March 9, 2018.

    a. Request Nos. 3, 5: Plaintiffs will produce responsive documents.

    b. Request Nos. 1, 2, 6, 7, 12, 20: Plaintiffs will supplement their responses and
       produce responsive documents.

    c. Request No. 8: Plaintiffs will produce any agreements, contracts, licenses or other
       documents pertaining to the licensing or distribution of the programming and
       content described in the First Amended Complaint within the United States via
       Internet Protocol television (IPTV). Plaintiffs may designate the documents
       “confidential” or “attorneys’ eyes only,” if so warranted, pursuant to the parties’
       Stipulated Protective Order and Non-Disclosure Agreement (Dkt. No. 504) and
       may redact the documents to protect trade secrets, if any, but may not redact the
       identity of the licensees or the economic terms of the agreements.

    d. Request No. 11: Plaintiffs will respond as directed in paragraph 5 of this Order.

    e. Request Nos. 13 to 17: Plaintiffs will produce responsive documents as to S.K.
       Management.

    f. Request No. 19: Plaintiffs will produce documents sufficient to identify the earliest
       date on which they claim that S.K. Management broadcast any content or
       programming in violation of their intellectual property rights.

    g. Request No. 22: Plaintiffs will produce documents sufficient to show that the
       content or programming at issue in this action was first broadcast via satellite.

 7. Plaintiffs will supplement their responses to Infomir’s first request for the production
    of documents (see Dkt. No. 516-1) and will produce additional documents, as directed
    on the record at the February 9 discovery conference and as summarized below, no
    later than March 9, 2018.

    a. Request Nos. 20 to 23, 31, 33, 39, 54, 56: Plaintiffs will supplement their responses
       and produce responsive documents.



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            b. Request No. 16: Plaintiffs will supplement their response and produce exemplars
               of the works at issue in this action.

            c. Request No. 19: Plaintiffs will supplement their response and produce documents
               sufficient to show any simultaneous initial broadcast or initial broadcast of any
               work at issue in this action in the United States.

            h. Request Nos. 24 to 26: Plaintiffs will produce any agreements, contracts, licenses
               or other documents pertaining to the licensing or distribution of the programming
               and content described in the First Amended Complaint within the United States via
               IPTV. Plaintiffs may designate the documents “confidential” or “attorneys’ eyes
               only,” if so warranted, pursuant to the parties’ Stipulated Protective Order and Non-
               Disclosure Agreement and may redact the documents to protect trade secrets, if
               any, but may not redact the identity of the licensees or the economic terms of the
               agreements.

            d. Request No. 34: Plaintiffs will supplement their response and produce all United
               States registrations of the marks at issue in this action, as well as any foreign
               registrations on which they intend to rely for any element of any cause of action
               asserted in this action.

            e. Request Nos. 41-45: If Infomir wishes to move for an order compelling plaintiffs
               to respond to these requests on the present discovery record, it will do so by letter-
               application filed no later than February 23, 2018. Plaintiffs’ response shall be filed
               no later than March 9, 2018.

         8. Plaintiffs will produce their privilege logs no later than March 23, 2018.

Dated:      New York, New York
            February 13, 2018

                                              SO ORDERED.



                                              ________________________________
                                              BARBARA MOSES
                                              United States Magistrate Judge




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